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                                                                                           Sup®rior Court of Calltomia
                   Erin Rounds (SBN 314457)                                                   Cotcniy of Los Angeles
              2
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              ~
              s                     SUPERIOR COURT OF TIIE STATE OF CALdFORNIA
              9
                                          FOR THE COUNTY OF LOS ANGELES
                                               LIMITED 3URiSDICTION
             10

             II
                                                                            CaseNa. 18S T LG 128 9 0
             12     SIMON SINGgI, an lndividual,                        ) CONIPLAINT FOR VIOLATION
                                                                        ) OF ROSENTHAL X+'AIR D1EBT
             13     Plaintiff,                                          ) COLLECTIOEV PRACTICES ACTAND
                                                                        ) THE TELEPIIONE CONSUMER
             14
                            vs.                                         } PROTECTION ACT
             15                                                         }
                   NAVIENT SOLUTIONS, INC., and DOES )(Amoant not to exceed $10,e00)
             16    1 through 10, inclusive,          )
                                                     )   1. Violation of Rosenthai Fair Debt
             17
                   Defendant.                        ).      Colleciion Practices Act
             I8                                      )   2. Violation of Telephone Constuner
                                                     )       Protection Act
             19

             20

             21                                           I. INTRODUCTION
             22             1. This is an actiou for damages brought by an individual consumer for Defendant's
             23    I violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code § 1788, et seq.
             24
                   I(hereinafter "RFDCPA') and the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.
             25
                   I (hereinafter "TCPA").
             26

             27

             28




                                                                   Conwtaint • I

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     1                                                II. PARTIES
     2
                  2.      Plaintiff, Simon Singh ("Plaintiff'), is a natural person residing in Los Angeles
     3
           County in the State of Califonua and is a"debtor" as defined by Cal Civ Code § 1788.2(h).
     4
                  3.      At all relevant times herein, Defendant, Navient Solutions, Inc. ("Defendant')
     5

     6     was a company engaged, by use of the mails and telephone, in the business of collecting a debt
     7     frora Plaintiff which qualifies as a"consumer debt," as defined by Cal Civ Code § I788.2(f).

     s Defendant regularly attempts to coIlect alleged debts, and therefore is a"debt collector" as
     9
          defined by the RFDCPA, Cal Civ. Code § 1788.2(c).
     lo
    It
                  4.      Plaintiff does not .know the true names and capacities, whether corporate,

    12     partnership, associate, individual or otherwise, of Defendants sued herein as Does 1 through 10,
    13
           inclusive, and therefore names said Defendants under provisions of Section 474 of the
    14
          Califomia Code of Civil Procedure.
    15
                  5.      Plaintiff is informed and believes, and on that ba.sis alleges that Defendants
    16

    17    Does I through 10 are in some manner responsible for acts, occurrences and transactions set

    18    forth herein and are legally liable to Plaintiff.
    19
                                          III. FACTUAL ALLEGATIONS
    20
                  6.      At various and multiple times prior to the filing of the instant complaint,
    21
          including within the one year preceding the filing of this complaint, Defendant contacted
    22

    23    Plaintiff in an attempt to collect an aileged outstanding debt.
    24            7.      Plaintiff has been receiving frequent calls from Defendant since approximately
    25
          I Febraary 2018.
    26

    27

    2s




                                                       Complaint - 2
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     1               8.        On information and belief, Plaintiff receives multiple calls in one day from
     2
             Defendant on multiple occasions, the intended purpose of wltich is to frustrate and annoy
     3
             Plaintiff.
     4
                     9.        Plaintiff told Defendant in or around March of 2018 to stop calling and informed
     5

     6       Defendant that it was contacting the wrong person. Plaintiff does not owe a debt to Defendant.
     7               10.       As such, Defendant has never had any lawful purpose to be contacting Plaintiff.
     s
                     11.       Rather than stopping calls as requested by Plaintiff, Defendant has continued to
     9
             place calls to Plaintiff.
    10

    lt               12.       Any continued calls could only have been placed to Plaintiff for the purpose of

    12       harassing him.
    13   I           13.       On information and belief, Defendant contacted Plaintiff using an automatic
    14
             telephone dialing system.
    15
                     14.       Defendant used an "automatic telepbone dialing system", as defined by 47
    16

    17       U.S C. § 227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect debt
    ls       allegedly owed by a third party.
    19
                    15.        Plaintiff believes an automatic telephone dialing system was used to contact him
    20
             because when Plaintiff would answer Defendant's collection calls, Plaintiff was never able to
    21
             speak with a live representative after he would answer the telephone. Plaintiff would answer
    22

    23       the telephone and state a greeting but would not receive a response from Defendant. Atter
    24       several seconds of waiting for Defendant to state a response Plaintiff would disconnect the
    25
             telephone cail.
    26
                    16.        Defendant's calls constituted calls that were not for emergency purposes as
    27

    28
             defined by 47 U.S.C. § 227(b)(1)(A).




                                                          Complaint - 3
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                   17.     Defendant's calls were placed to telephone number assigned to a cellular

            telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S C. §

            227(b)(1).
                   18.     Since Plaintiffrequested that the calls stop and informed Defendant that the calls

            were unwanted, Defendant does not have express consent to contact Plaintiff on his celiular

            telephone using an automated telephone dialing system as Plaintiff has revoked whatever

           I consent previously existed.


                   19.     As a result of the above violations of the FDCPA, RFDCPA, and TCPA,

            Plainfiiff suffered and continues to suffer injury to Plaintiff s feelings, personal humiliation,

            embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
      13

      14   Plaintiffs actual damages, statutory damages, and costs and attomey's fees.
      is                             COUNT I: yIOLATION OF ROSENTHAL
                                   FAIR DEBT COLLECTION PRACTICES ACT
      16

      17           20.     Plaintiff reincorporates by reference all of the preceding paragraphs.

      18           21.     To the extent that Defendant's actions, counted above, violated the RFDCPA,
     19
           those actions were done knowingly and willfully.
     20
                   22.     Section 1788.17 of the Califonva Civil Code mandates that every debt collector
     21

     22
           I attempting to collect a consumer debt shall comply with § 1692b through § 1692j of the

     23    I FDCPA.
     24            23.     Defendant violated Cal. Civ. Code § 1788.17 when it violated the FDCPA for
     25
           I the reasons set forth in this Complaint.
     26

     27

     28




                                                        Complafnt - 4
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                    24.       Defendant's conduct violated the RFDCPA in multiple ways, including, but not

           I limited to:

                           a) Engaging in conduct the natural consequence of which is to harass, oppress, or
                              abuse Plaintiff (§ 1692d);

                           b) Attempting to collect any amount not authorized by the agreement creating the
                              debt or pernutted by law (§ 1692f(1));

                           c) Contacting a third party in an attempt to collect the alIeged debt (§ 1692b);

                           d) Causing a telephone to ring or engaging any person in telephone conversation
                              repeatedly or continuously with intent to annoy, abuse, or harass any person at
                              the called number {§ 1692d(5));

                    25.       As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
      12
           I and continues to suffer injury to PlaintifPs feelings, personal humiliation, embarrassment,
      13
           I mental anguish and emotional distress, and Defendant is liable to Plaintiff for PIaintifPs actual
      14

      Is   I damages, statutory damages, and costs and attomey's fees.

      16       COUNT II: VIOLATION OF THE TELEPHONE CONSUMER PRACTICES ACT
      17
                    26.       Plaintiff incorporates by reference all of the preceding paragraphs.
      ls
                    27. The foregoing acts and omissions of Defendant constitute numerous and
      19
           multiple negligent violations of the TCPA, including but not limited to each and every one of
      20

      21   I the above cited provisions of 47 U.S.C. § 227 et seq.

     22             28.       As a result of Defendant's negligent violations of 47 U.S.0 § 227 et seq.,
     23
           Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
     24
           pursuant to 47 U.S.C. § 227(b)(3)(B).
     2s

     26
                    29. The foregoing acts and omissions of Defendant constitute numerous and

     27    multiple lmowing and/or willful violations of the TCPA, including but not limited to each and
     2s    every one of the above cited provisions of 47 U.S C. j' 227 et seq.



                                                          Complaint - 5
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          1               30.    As a result of Defendant's knowing and/or willful violations of 47 U.S. C. § 227
          2
                et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
          3
                violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.SC. § 227(b)(3)(C).
0
          4
                          31.    Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the
          5
          6     fature.
          7                                          PRAYER FOltt RELIEF
          s
                          1UHEREFORE, Plaintiff respectfully prays that judgment be entered against the
          9
                Defendant for the following:
         to
         11               A. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);

         12               B. All reasonable attorneys' fees, witness fees, court costs and other Iitigation costs
                             incurred by Plaintiffpursuant to 15 U.S.C. § 1693k(a)(3);
         13

         14               C. All actual damages, statutory damages, reasonable attomey's fees and costs, and any
                             other litigation costs incurred by Plaintiff pursuant to the RFDCPA at Cal. Civ.
         15                  Code § 1788.17;
         16
                          D. Statutory damages of $500.00 per telephone call in violation of the TCPA pursuant
         17                  to 47 U.S.C. § 227(b)(3)(B);

         ls               E. Statutory damages of up to $1,500 for each call in violation of the TCPA, pursuant
                             to 47 U.S.C. §§ 227(c)(5)(B) and 227(c)(5)(C), which permits the Court in its
         19
                             discretion to award such damages if it finds that Defendant willfully or k.nowingly
         20                  violated the TCPA; and

         21               F. Any other relief deemed appropriate by this Court.
         22

         ~Az                       PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY
         24 1                    Respectfially submitted this October 5, 2018
         25

         26
                                                        By:
         27                                                     Paul Mankin, Esq.
         28
                                                                Law Office of L. Paul Mankin
                                                                Attomey for Plaintiff



                                                              Complaint - 6
